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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff.
VS. Case No. 4:22-CR-146 HEA
JUAN THOMPSON,
Defendant.

WAIVER OF DETENTION HEARING
I understand that the Government has filed a Motion for Detention asking the court not to set a bond for my release.

After discussion with my lawyer, I want to waive (give up) my right to a detention hearing.

Aa I fs e in custody) until my case is resolved.

“Attdr mney for Defendant Deh Eae
Dated this 2 4 day of | “Ae , 2023 Dated this “2 9 “€@ day of > PCRS, 2023

ORDER OF DETENTION

 

Based on the record made in open court, I find that defendant’s waiver of a detention hearing is knowing, intelligent and voluntary.

I have considered the Report of the Pretrial Services Office and all of the factors required to be considered by 18 U.S.C. § 3142(g) and I find that there are no
conditions or combinations of conditions that will reasonably assure the appearance of the defendant as required and the safety of the community.
ACCORDINGLY,

TT IS HEREBY ORDERED that the government’s Motion for Detention is GRANTED and that defendant be detained pending trial.

TT IS FURTHER ORDERED that the defendant be committed to the custody of the Attorney General for confinement in a corrections facility,
separate to the extent practicable from persons awaiting or serving sentences or being held in custody pending appeal.

IT IS FURTHER ORDERED that the defendant be allowed reasonable opportunity for consultation with counsel and with defense counsel’s
retained investigator, paralegal, or other retained expert consultant, including persons retained to conduct physical or psychological examinations. Counsel
or counsel’s aforesaid authorized representatives shall be permitted to bring audio or video tapes, tape players and monitors into the correctional facility for
the purpose of consulting with the defendant, which equipment shall be subject to physical examination by the correctional facility personnel. Counsel shall
notify and obtain authorization on an ex parte basis from the United States Marshals Service personnel prior to any physical or mental examination, and prior
to bringing any audio or video tapes, tape player and monitor into a correctional facility, to permit the Marshals Service to make any necessary arrangements
with the correctional facility.

IT IS FURTHER ORDERED that on order of a court of the United States or on request of an attorney for the government, the person in charge of

    

the corrections facility in which the defendant is confined shall deliver the defepdap@to the United States 4) 1 for the purpose of an appearance in

connection with a court proceeding.

 

 

PODNEY H. HO sas J

UNITED STATIS MAGISTRATE JUDGE

ue J
Dated this a 4 day of “ atu , 2023
